         Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 1 of 12




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                                 :
                                                         :       CRIMINAL ACTION
                v.                                       :
                                                         :
LAUREN HANDY                                             :       NO. 1:22-cr-00096CKK


              DEFENDANT LAUREN HANDY’S MOTION TO DISMISS FOR
                          LACK OF JURISDICTION

        Defendant Lauren Handy (“Ms. Handy”), by and through undersigned counsel,

respectfully moves this Court to dismiss Counts One and Two of the Indictment, pursuant to

Rule 12(b) of the Federal Rules of Criminal Procedure.

                                          INTRODUCTION

        Ms. Handy is charged with Conspiracy Against Rights [18 U.S.C. § 241] and with

violating the Freedom of Access to Clinic Entrances Act (“FACE”) [18 U.S.C. § 248(a)(1)] due

to her alleged participation in a sit-in at a local abortion clinic.

        The conspiracy statute is specifically predicated on the violation of a constitutional right.

The separate FACE statute does not predicate itself on any congressional finding (such as an effect

on interstate commerce) or upon any other provision of the U.S. Constitution. But FACE was

enacted after the decision in Roe vs. Wade, 410 U.S. 113 (1973), and is implicitly based upon a

constitutional right to abortion. Like the conspiracy statute, the FACE Act is contained in Chapter

13 of Title 18 of the U.S. Code. That is the chapter on Civil Rights.

        Since Dobbs v. Jackson Women’s Health Organization, 597 U.S. ___ (2022), overruled

Roe, there is no longer a federal constitutional interest to protect, and Congress lacks jurisdiction.

For the same reason, the Court here does likewise. The events in question occurred prior to Dobbs,
        Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 2 of 12




but the ruling is dispositive nonetheless. The Dobbs court did not indicate that there is no longer a

constitutional right to abortion; the court has made clear there never was.

       The Dobbs case is fatal to the conspiracy charge. The Dobbs case and other precedents

seriously undermine the FACE charge.

       The pertinent part of the conspiracy statute provides, with emphasis supplied:

               § 241. Conspiracy against rights
               If two or more persons conspire to injure, oppress, threaten, or
               intimidate any person in any State, Territory, Commonwealth,
               Possession, or District in the free exercise or enjoyment of any right
               or privilege secured to him by the Constitution or laws of the United
               States, or because of his having so exercised the same; [ ] They shall
               be fined under this title or imprisoned not more than ten years, or
               both; [ ].

The FACE act has no similar predicate, but like the conspiracy charge with the constitutional

predicate, it is contained in the Civil Rights chapter, Chapter 13, of title 18. The entire chapter is

predicated on the protection of constitutional rights. Where those do not exist, the Chapter has no

application.

       There is no general police power delegated to the federal government under the U.S.

Constitution. Yet, a general police power is what the Government seeks to exercise here, indicting

Ms. Handy for actions that lack a federal jurisdictional nexus and are properly a matter of state

law. Application of FACE to Ms. Handy exceeds the powers granted to the federal government by

the Constitution and offends both principles of federalism and the Tenth Amendment.

       Therefore, Ms. Handy respectfully asks that the indictment be dismissed with prejudice for

the reasons explained more fully below.

                                   LEGAL STANDARD

       “A motion that the court lacks jurisdiction may be made at any time while the case is

pending.” Fed. R. Crim. P. 12(b)(2). If an indictment does not allege a federal offense, the Court

                                                  2
         Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 3 of 12




lacks jurisdiction, and the indictment may be dismissed. See United States v. Spinner, 180 F.3d

514, 516 (3d Cir. 1999) (“‘failure of an indictment sufficiently to state an offense is a fundamental

defect . . . and it can be raised at any time’”) (quoting United States v. Wander, 601 F.2d 1251,

1259 (3d Cir. 1979)); see also United States v. Freeman, 813 F.2d 303, 304 (10th Cir. 1987) (“It

is well established . . . that the failure of an indictment to state an offense is a fatal defect that may

be raised at any time.”).

                                            ARGUMENT

I.      APPLICATION OF FACE TO MS. HANDY EXCEEDS CONGRESS’ POWERS
        UNDER THE COMMERCE CLAUSE.

        A.      The Commerce Clause Does Not Provide Jurisdiction For This Prosecution.

        Enacted in 1994, the FACE Act reads in pertinent part as follows:

                Whoever—

                (1) by force or threat of force or by physical obstruction,
                    intentionally injures, intimidates or interferes with or attempts to
                    injure, intimidate or interfere with any person because that
                    person is or has been, or in order to intimidate such person or
                    any other person or any class of persons from, obtaining or
                    providing reproductive health services [shall be subject to the
                    penalties and civil remedies set forth in the act].

18 U.S.C. § 248(a). Unlike many other federal criminal statutes, FACE contains no express

jurisdictional element. It does not predicate itself on the interstate commerce clause, as many

federal laws do, or upon any other provision of the federal constitution. In providing the basis for

federal action, such a predicate also provides for its limitations. It prevents a statute, and its

application, from exceeding the powers granted to the federal government under the predicate

provision of the U.S. Constitution. See, e.g., United States v. Singletary, 268 F.3d 196, 205 (3d

Cir. 2001) (jurisdictional nexus sufficient for constitutionality of criminal statute at issue (18

U.S.C. § 922(g)(1)); but see United States v. Rodia, 194 F.3d 465, 472-73 (3d Cir. 1999)

                                                    3
         Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 4 of 12




(jurisdictional nexus for offense not necessarily sufficient to support constitutionality of a statute

under the Commerce Clause).

       Article I, section 8, clause 3 of the U.S. Constitution grants Congress the power to regulate

interstate commerce. This has been interpreted to reach three subjects of regulation: “the use of

the channels of interstate commerce;” “the instrumentalities of interstate commerce, or persons or

things in interstate commerce, even though the threat may come only from intrastate activities;”

and “activities having a substantial relation to interstate commerce . . . i.e., those activities that

substantially affect interstate commerce[.]” United States v. Lopez, 514 U.S. 549, 558-59 (1995)

(internal citations omitted).

       “While this final category is broad, ‘thus far in our Nation’s history our cases have upheld

Commerce Clause regulation of intrastate activity only where that activity is economic in nature.’”

United States v. Morrison, 529 U.S. 598, 613 (2000) (quoting Lopez, 514 U.S. at 559-60). The

Third Circuit has explained further that, though it is not necessarily a per se rule, Congress

generally may “not regulate non-economic conduct based solely on that conduct’s aggregate effect

on interstate commerce.” United States v. Kukafka, 478 F.3d 531, 535 (3d Cir. 2007) (internal

quotation and marks citations omitted). To determine whether purely intrastate activity can be

regulated under this third category, often referred to as the “Affectation Doctrine,” courts look to

“(1) the economic nature of the regulated activity; (2) a jurisdictional element limiting the reach

of the law to a discrete set of activities that additionally has an explicit connection with or effect

on interstate commerce; (3) express congressional findings regarding the effects upon

interstate commerce of the activity in question; and (4) the link between the regulated activity

and interstate commerce.” Id. at 535-36 (internal quotation marks and citations omitted).




                                                  4
        Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 5 of 12




       Applying these factors, the Third Circuit has previously upheld by the constitutionality of

FACE under the Commerce Clause in United States v. Gregg, 226 F.3d 253 (3d Cir. 2000)

(emphasis supplied). The intervening two decades have worked changes in Commerce Clause

jurisprudence that further undermine federal jurisdiction necessary to sustain FACE.

                       1.      The Indictment Fails To Allege Actions Within Gregg’s Scope.

       The Third Circuit’s 2000 decision in Gregg sustained (over a dissent) the facial

constitutionality of FACE, and even did so despite the statute’s failure to include an express

jurisdictional requirement as an element of a FACE violation.

                       2.      Post-Gregg Decisions Of The Supreme Court Make Clear That
                               Congress Does Not Possess Unfettered Power To Regulate
                               Simply By Invoking A “Market” For Services.

       While Gregg relies extensively on the interstate (or “national”) market for abortion services

to sustain the facial constitutionality of FACE, see id. at 263-67, it cannot be read in light of more

recent case law to countenance broad criminalization of isolated and noneconomic intrastate

activity. The subsequent precedent demands more specificity than simply some conceivable

connection between the alleged conduct and an interstate market. The federal government’s mere

assertion that there is a “market” for certain services does not allow it to regulate that which would

otherwise fall outside of the jurisdiction of the federal government. Additionally, absent clear

Congressional intent, federal statutes are not generally to be interpreted as reaching local crimes

that are traditionally matters of state concern.

                               a.      The Commerce Clause Requires Specificity In The
                                       Activity To Be Regulated Sufficient To Reasonably
                                       Cabin A Statute’s Reach.

       “[T]he Commerce Clause does not authorize Congress to ‘regulate noneconomic, violent

criminal conduct based solely on that conduct’s aggregate effect on interstate commerce.’” United

States v. Whited, 311 F.3d 259, 266 (3d Cir. 2022) (quoting Morrison, 529 U.S. at 617). The Third

                                                   5
         Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 6 of 12




Circuit, too, has “agree[d] that the concerns expressed in Lopez preclude applying the ‘aggregation

test’ so broadly that it sweeps within its reach every use of every property that has an effect on

interstate commerce no matter how diluted.” United States v. McGuire, 178 F.3d 203, 211 (3d Cir.

1999); see id. (“The government is correct in conceding that ‘some uses are so trivial or attenuated

that they are not covered by [the statute].’”).

        While the Government is not constitutionally required to show that a particular instance

of an offense has a substantial effect on interstate commerce, the “class of acts” proscribed by a

statute pursuant to the Commerce Clause must be susceptible to description with sufficient

specificity that the category does not include noneconomic local crime that has no connection to

interstate commerce. For example, in Gonzales v. Raich, 545 U.S. 1 (2005), the Supreme Court

explained that “purely local activities that are part of an economic ‘class of activities’ that have a

substantial effect on interstate commerce” fall within the reach of Congress’ Commerce Clause

powers. Id. at 17 (citations omitted) (emphasis added). Because the growing of a product, even for

local use only, is “quintessentially economic” activity, Congress could validly regulate the

intrastate cultivation, possession, and use of marijuana. Id. at 25-26; see also id. at 32-33; Jones v.

United States, 529 U.S. 848, 859 (2000) (“We hold that the [a statute criminalizing arson of

property ‘used in . . . any activity affecting . . . commerce’] . . . covers only property currently used

in commerce or in an activity affecting commerce. The home owned and occupied . . . was not so

used—it was a dwelling place used for everyday family living.”).

        Similarly, Congress is not permitted to criminalize brief and rare sit-ins of abortion clinics

simply because some may have an economic character that might be aggregated to find an effect

on interstate commerce. Nevertheless, this prosecution seeks to sweep into federal jurisdiction

allegations of purely local noneconomic conduct. Any definition that included the purely local,



                                                   6
        Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 7 of 12




noneconomic act charged in this case would be insufficiently specific to pass scrutiny under

Commerce Clause jurisprudence.

                              b.      An Interstate Market Alone Is Insufficient For Plenary
                                      Regulation Of Intrastate Conduct.

       Following the Third Circuit’s decision in Gregg, the U.S. Supreme Court made plain the

insufficiency of an interstate “market” alone to support plenary federal regulation under the

Commerce Clause of any form of intrastate conduct. Thus, in NFIB v. Sebelius, 567 U.S. 519

(2012), the Supreme Court held that an individual’s decision to not purchase health insurance was

beyond the regulation of Congress under the Commerce Clause. The Court reasoned that an

individual’s decision against purchasing health insurance is not economic activity, and moreover

it could not be swept into the jurisdictional power of the federal government simply because there

is, indisputably, a national market for healthcare. See 567 U.S. at 551-57.

                              c.      Federal Criminal Statutes Must Be Interpreted To Avoid
                                      Intrusion On The State’s Traditional Control Over Local
                                      Criminal Conduct.

       Furthermore, when confronted with “an improbably broad reach” of a federal criminal

statute, it is appropriate to seek recourse to principles of federalism. This includes a presumption

against “interpreting the statute’s expansive language in a way that intrudes on the police power

of the States” to reach “purely local crimes.” Bond v. United States, 572 U.S. 844, 859-60 (2014)

(internal citations omitted). While the federal government possesses only those powers expressly

enumerated in the Constitution. “The powers not delegated to the United States by the

Constitution, nor prohibited by it to the States, are reserved to the States respectively, or to the

people.” U.S. Const. amend. X. “As James Madison wrote, ‘the powers delegated by the proposed

Constitution to the federal government are few and defined. Those which are to remain in the State

governments are numerous and indefinite.’” Lopez, 514 U.S. at 552 (quoting The Federalist No.

                                                 7
         Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 8 of 12




45, pp. 292-93 (C. Rossiter ed. 1961)). This division between the powers of the federal and State

governments is not a trifling technicality, but rather “was adopted by the Framers to ensure the

protection of ‘our fundamental liberties.’” Atascadero State Hospital v. Scanlon, 473 U.S. 234,

242 (1985) (quoting Garcia v. San Antonio Metro. Transit Auth., 469 U.S. 528, 572 (1985)

(Powell, J., dissenting)); see Gregory v. Ashcroft, 501 U.S. 452, 457 (1991) (describing “dual

sovereignty”).

        One of the powers the federal government lacks that the states retain is a general police

power. “For nearly two centuries it has been ‘clear’ that, lacking a police power, ‘Congress cannot

punish felonies generally’ . . . A criminal act committed wholly within a State ‘cannot be made an

offence against the United States, unless it have some relation to the execution of a power of

Congress, or to some matter within the jurisdiction of the United States.’” Bond, 572 U.S. at 854

(internal citations omitted). Thus, it must be clear that Congress intended to reach crime of a local

nature before a federal statute will be construed to criminalize such conduct. Id. at 860.

        There is no class of economic activity into which Ms. Handy’s conduct legitimately falls.

By failing to connect the alleged offenses in a meaningful to way particular economic actions over

which there is federal jurisdiction, the Government impermissibly tries to regulate types of persons

(namely, those advocating against abortion) instead of conduct. The Supreme Court has made

clear, however, that Congress has the “power to regulate ‘class[es] of activities,’ . . . not classes of

individuals, apart from any activity in which they are engaged[.].” Sebelius, 567 U.S. at 556

(internal quotation marks and citations omitted).

        “[U]nless Congress conveys its purpose clearly, it will not be deemed to have significantly

changed the federal-state balance” regarding criminal law since “Congress has traditionally been

reluctant to define as a federal crime conduct readily denounced as criminal by the States.” United



                                                   8
        Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 9 of 12




States v. Bass, 404 U.S. 336, 349 (1971) (emphasis supplied). Ultimately, the incident at issue in

this case is, at most, a state trespass, easily reached by the Washington, D.C. trespass statute.

Pertinent parts of that statute provide:

               § 22-3302. Unlawful entry on property.
               (a)
               (1) Any person who, without lawful authority, shall enter, or attempt
               to enter, any private dwelling, building, or other property, or part of
               such dwelling, building, or other property, against the will of the
               lawful occupant or of the person lawfully in charge thereof, or being
               therein or thereon, without lawful authority to remain therein or
               thereon shall refuse to quit the same on the demand of the lawful
               occupant, or of the person lawfully in charge thereof, shall be
               deemed guilty of a misdemeanor, and on conviction thereof shall be
               punished by a fine of not more than the amount set forth in § 22-
               3571.01, imprisonment for not more than 180 days, or both. [ ]
       Regulation of such matters, both civilly and criminally, has been a matter for the states

since the founding of the United States. See, e.g., Lopez, 514, U.S. at 561 n.3 (“Under our federal

system, the States possess primary authority for defining and enforcing the criminal law.”)

(citation omitted)).

       Application of FACE to the facts at issue here would displace important policy decisions

made by the District of Columbia in the exercise of its traditional sovereign power to proscribe

and punish crime occurring on its streets. See Brzonkala v. Va. Polytechnic Inst. & State Univ.,

169 F.3d 820, 841-42 (4th Cir. 1999) (describing most crimes as matters of traditional state

concern) (“Congress not only has encroached upon the States’ ability to determine when and how

violent crime will be punished . . . but in so doing has blurred the boundary between federal and

state responsibility for the deterrence and punishment of such crime.”).

       Without a basis for the Court’s exercise of federal jurisdiction, the indictment in this case

should be dismissed.


                                                 9
        Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 10 of 12




II.    II. SINCE THE DECISION IN DOBBS NO FEDERAL CIVIL RIGHTS INTEREST
       CAN SUPPORT FACE’S CONSTITUTIONALITY.

       Since the Dobbs Decision, There Is No Federal Interest In Abortion To Be Protected.

       With the issuance of the ruling in Dobbs v. Jackson Women’s Health Organization, 142 S.

Ct. 2228, 213 L. Ed. 2d 545 (2022), federal Supreme Court precedent conferring a right to abortion

was overruled. Accordingly, “the authority to regulate abortion [was] returned to the people and

their elected representatives” because “the Constitution does not confer a right to abortion.” Id. at

2279, 213 L. Ed. 2d 545. If there is to be a basis for sustaining Congress’ ability to enact FACE,

then, it can only be found in the Commerce Clause and not in the authority to protect a non-existent

federal right to abortion.

                                         CONCLUSION

       Based upon the foregoing reasons, Defendant Lauren Handy respectfully requests that

Counts One and Two of the Indictment be dismissed.

                                                      Respectfully submitted,


                                                      /s/ Martin A. Cannon
                                                      Martin A. Cannon, Esquire (Admitted Pro
                                                      Hac Vice)
                                                      Thomas More Society
                                                      10506 Burt Circle, Suite 110
                                                      Omaha, Nebraska 68114
                                                      Email: mcannonlaw@gmail.com
                                                      Phone: (402) 690-1484


                                                      /s/ Dennis E. Boyle
                                                      Dennis E. Boyle, Esquire
                                                      Blerina Jasari, Esquire
                                                      Boyle & Jasari
                                                      1050 Connecticut Ave, Suite 500
                                                      Washington, D.C., 20036
                                                      Email: dboyle@dennisboylelegal.com
                                                             bjasari@dennisboylelegal.com

                                                 10
Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 11 of 12




                                    Phone: (202) 430-1900

                                    Counsel for Defendant Lauren Handy




                               11
        Case 1:22-cr-00096-CKK Document 159 Filed 01/27/23 Page 12 of 12




                                  CERTIFICATE OF SERVICE
       I hereby certify that on this 27th day of January 2023, I electronically filed the foregoing

Motion and proposed Order with the Clerk of Court using the CM/ECF system, which will send

an electronic notification of such filing to all counsel of record.



                                               /s/ Dennis E. Boyle
                                               Dennis E. Boyle, Esquire




                                                  12
